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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                   06/25/2024
---------------------------------------------------------------X
PRESIDIO, INC., et al,                                         :
                                                               :   23-CV-6235 (LTS) (RWL)
                                    Plaintiffs,                :
                                                               :
                  - against -                                  :   ORDER
                                                               :
DRIVEN ACQUISITIONS, INC., et al,                              :
                                                               :
                                    Defendants.                :
                                                               :
---------------------------------------------------------------X
ROBERT W. LEHRBURGER, United States Magistrate Judge.

        As directed at the discovery conference held via Microsoft Teams on Jun 25, 2024:

        1.       Metadata: By Thursday June 27, 2024, Defendants shall inquire with their

IT personnel and obtain an answer regarding the two outstanding metadata categories:

custodian and filepath. By Friday June 28, 2024, Defendants shall provide Plaintiff with

a substantive response as to same and shall provide a date by which those categories of

meta data will be provided if they have not otherwise already been provided.

        2.       Documents: By July 16, 2024, Defendants shall (i) produce to Plaintiff all

responsive, non-privileged documents from Defendants “re-review” of documents; (ii)

produce to Plaintiffs all responsive, non-privileged documents obtained from custodians

Casasola and Thomas (the “Executive Documents”); and (iii) substantive responses to

Plaintiff’s questions previously posed in writing about documents they have reason to

believe exist but that have not been produced. The Executive Documents shall be

produced as and subject to attorneys-eyes only designation in the first instance.

Thereafter, and to the extent not already done, Defendants must timely review the

Executive Documents and redesignate those documents for which there is not a good

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faith basis to maintain designation for attorneys-eyes only. The Court suggests it may be

more efficient for Defendants to conduct review for proper designation at the same time

Defendants review the Executive Documents for attorney-client privilege, rather than

waiting to conduct a second review after production.

       3.      Depositions: Depositions may commence starting July 17, 2024.

       4.      Privilege Logs: The parties shall meet and confer on timing for exchange

of privilege logs.

       The Clerk of Court is respectfully directed to terminate the letter motions at Dkt.

100 and 102.

                                          SO ORDERED.



                                          _________________________________
                                          ROBERT W. LEHRBURGER
                                          UNITED STATES MAGISTRATE JUDGE

Dated: June 25, 2024
       New York, New York

Copies transmitted this date to all counsel of record.




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